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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                                   Case No. 8:00-CR-468-T-30TBM

    LUIS EDUARDO MARTINEZ RENTERIA,

           Defendant.
                                                   /

                                             ORDER

           This matter is before the Court for consideration of Defendant’s Motion to Correct an

    Illegal Sentence Pursuant to 18 U.S.C. [§] 3582(c)(B)(2) and/or [§] 3742(a)(1)(2)(3) (Dkt.

    316). For reasons set forth below, the Court finds that the arguments presented by

    Defendant in support of his claim that his sentence is illegal lack merit.

           Having entered a plea of guilty to a drug-related charge, Defendant was sentenced

    on September 13, 2001, to serve a term of 135 months imprisonment (Dkt. 180). The

    Eleventh Circuit Court of Appeals affirmed Defendant’s conviction and sentence on

    December 6, 2002. See United States v. Renteria, 54 Fed. Appx. 932 (11th Cir. 2002).

    Defendant’s conviction became final on direct appeal on March 6, 2003, when he failed to

    petition for a writ of certiorari within 90 days of the decision affirming his conviction and

    sentence. See Sup. Ct. R. 13.1; Kaufmann v. United States, 282 U.S. 1336, 1339 (11th Cir.

    2002) (holding that “a ‘judgment of conviction becomes final’ within the meaning of § 2255

    as follows: (1) if the prisoner files a timely petition for certiorari, the judgment becomes

    ‘final’ on the date on which the Supreme Court issues a decision on the merits or denies

    certiorari, or (2) the judgment becomes ‘final’ on the date on which the defendant's time for
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    filing such a petition expires.”). Defendant’s request for collateral relief, filed pursuant to 28

    U.S.C. § 2255, was denied on October 6, 2003 (Dkt. 291).

            Absent very specific exceptions, once sentence is imposed and a judgment entered

    in a criminal case, the Court cannot unilaterally modify a sentence it has imposed. See 18

    U.S.C. § 3582(c) (2002). The Bureau of Prisons has not filed a motion to reduce

    Defendant’s term of imprisonment, and Defendant has not cited any statute which expressly

    permits a modification of his sentence. See id. Rule 35 is unavailing because more than

    seven days has elapsed since Defendant’s sentence was imposed, and the Government

    has not filed a motion for a reduction in his sentence for substantial assistance. Id.

            The Eleventh Circuit’s holding in Varela v. United States that the decisions in United

    States v. Booker, 543 U.S. __, 125 S.Ct. 738, 756 (Jan. 12, 2005) (finding that the

    mandatory nature of the federal sentencing guidelines rendered them incompatible with the

    Sixth Amendment's guarantee to the right to a jury trial), and Blakely v. Washington, 542

    U.S. __, 124 S.Ct. 2531, 2537 (Jun. 24, 2004), do not apply retroactively to cases on

    collateral review precludes the Court from granting Defendant’s request for resentencing

    based on these two Supreme Court decisions. Varela v. United States, 400 F.3d 864, 867-

    68 (11th Cir. 2005). Finally, Defendant listed 18 U.S.C. § 3742 as a grounds for modifying

    his sentence, but § 3742 provides the grounds on which a defendant can directly appeal his

    sentence. See 18 U.S.C. § 3742(a).1 This section does not grant jurisdiction to a district

    court to review a final sentence.

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               Title 18 U.S.C. § 3742 provides, in pertinent part, that “[a] defendant may file a notice of appeal in
    the district court for review of an otherwise final sentence if the sentence – (1) was imposed in violation of law;
    (2) was imposed as a result of an incorrect application of the sentencing guidelines; or (3) is greater than the
    sentence specified in the applicable guideline range to the extent that the sentence includes a greater fine or
    term of imprisonment, probation, or supervised release than the maximum established in the guideline range,
    or includes a more limiting condition of probation or supervised release under section 3563(b)(6) or (b)(11)
    than the maximum established in the guideline range.” 18 U.S.C. § 3742(a)(1)-(3).

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             ACCORDINGLY, the Court ORDERS that the Motion to Correct an Illegal Sentence

    Pursuant to 18 U.S.C. [§] 3582(c)(B)(2) and/or [§] 3742(a)(1)(2)(3) (Dkt. 316) is DENIED.

             DONE and ORDERED in Tampa, Florida on November 29, 2005.




    Copy furnished to:
    All Parties/Counsel of Record

    SA/jsh




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